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 1                                UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3
     Mario Alejandro Lopez,                                  Case No. 2:19-cv-01308-APG-NJK
 4            Petitioner                                                  ORDER
 5 v.

 6 Brian E. Williams, et al.,

 7            Respondents

 8

 9

10            Petitioner Mario Alejandro Lopez was convicted of multiple offenses related to stabbing

11 his wife and son and assaulting his daughter, for which he is sentenced to imprisonment in

12 Nevada state prison for 31.5 to 84 years. 1 ECF No. 29-2. Lopez filed a second amended petition

13 for writ of habeas corpus under 28 U.S.C. § 2254. ECF No. 17. I previously determined grounds

14 2 and 3(b) are unexhausted and dismissed them without prejudice at Lopez’s request. ECF Nos.

15 44–47. I now decide the remaining grounds of the petition, in which Lopez seeks relief based on

16 claims of prosecutorial misconduct, his conflict with trial counsel, and ineffective assistance of

17 trial counsel. For the reasons discussed below, I deny the petition (ECF No. 17), but grant a

18 certificate of appealability for grounds 1(a) and 1(e).

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            A jury convicted Lopez of two counts of attempted murder with the use of a deadly
23 weapon, two counts of battery with the use of a deadly weapon resulting in substantial bodily
   harm constituting domestic violence, assault with a deadly weapon, burglary while in possession
   of a deadly weapon, and child abuse and neglect with the use of a deadly weapon.
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 1 I.      Background 2

 2         Maria Robles and Lopez were married and had seven children, including sons, A.L. and

 3 M.L.J, and daughters, M.L. and L.L. 3 ECF No. 63-3 at 141–46. On July 20, 2012, she worked at

 4 Al Phillips Laundry from 6:00 p.m. to 2:30 a.m., while her baby-sitter, Michelle, stayed at home

 5 with the children. Id. at 147–50. A family court order prohibited Lopez from unsupervised visits

 6 and residing with her and the children. Id. at 146–47. Lopez called Robles at work that night to

 7 offer her a ride home, but she refused his help. Id. 151–52, 155. Lopez then texted her asking

 8 what time she would finish work and who would take her home, and she responded she would

 9 get a ride or take the bus. Id. at 153. Robles said Lopez was “always” jealous and thinking about

10 who would take her home, and why she did not want to go with him. Id.

11         Lopez arrived at Robles’s workplace around 1:00 a.m., accompanied by their daughters,

12 M.L. and L.L., having driven Robles’s blue unregistered truck without permission. Id. at 153–55.

13 M.L., who was 14 years old at the time, testified Lopez switched the license plate from Robles’s

14 white truck to the blue truck and that she accompanied Lopez and her younger sister, L.L., to

15 Robles’s workplace because M.L. didn’t want Lopez “to do anything.” ECF No. 64-1 at 75–76,

16 78, 85–87. M.L. said she texted Robles about what was happening and Robles “got really mad.”

17 Id. M.L. said Lopez was always jealous and saying Robles was talking to someone else. Id. at

18 88.

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20           I make no credibility findings or other factual findings regarding the truth of evidence
   or statements of fact in the state court proceedings. I summarize them solely as background for
21 the issues presented in this case, and I do not summarize all such material. No assertion of fact
   made in describing statements, testimony, or other evidence constitutes a finding made by me.
22 Any absence of mention of a specific piece of evidence or category of evidence does not mean
   that I overlooked it in considering the claims.
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             Based on Local Rule of Practice LR IA 6-1(a), I use initials to refer to these witnesses,
   who were minors at the time of the offenses and when they testified at trial.
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 1         Robles testified that when Lopez arrived at her workplace, she told him she would not

 2 leave with him, and he said he would wait for her. ECF No. 63-3 at 154–56. Robles told him to

 3 leave the girls in the lunchroom and to leave the premises. Id. Lopez called her ungrateful and

 4 became angry but left. Id. M.L. testified Lopez drove them home and on the way, he “was just

 5 saying that it was like me and my brother’s fault that my mom doesn’t want to go back with

 6 him” and that they were going “to pay.” ECF No. 64-1 at 88–89. M.L. said Lopez drove without

 7 swerving and responded to her questions, and although it appeared he had been drinking, she did

 8 not know whether Lopez was drunk or had been drinking. Id. at 89–90. L.L. testified she was 13

 9 years old at trial and that during the ride home that night, Lopez said Robles would “regret” not

10 coming home with them. Id. at 121–22, 127.

11         M.L. testified that when they arrived home, she told Lopez to leave and saw him walk

12 away from the house. Id. at 90–91. M.L. locked the deadbolt on the front door because she was

13 afraid of Lopez and that he might return to the house. Id. at 91–93. Lopez texted Robles saying

14 he left the girls at the house but was “insisting who [she] was getting a ride with,” and how she

15 would get home. ECF No. 63-3 at 156–57. Lopez told her that if she took the bus, he’d be

16 waiting for her at the bus stop. Id. Robles said she had “no interest” in any contact with Lopez

17 that night. Id.

18         Robles’s shift ended at 3:00 a.m., and she got a ride home from a coworker, whose

19 husband picked them up and dropped her off at her house. Id. at 157–60. She was expected at

20 her second job at 8:00 a.m. that morning and tried to unlock the front door of her house, but it

21 was deadbolted from inside. Id. at 157, 161–62. Lopez scared her by coming to the door from

22 the direction of the blue truck. Id. Lopez was argumentative and wanted to get back together

23 with her and see the children, but Robles did not want to talk because she was tired, didn’t have



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 1 much time to sleep, and he would “just go on and on, you know, talking about the same thing.”

 2 Id. at 162–63. Lopez called Robles a “bitch,” and M.L. let Robles inside the house and secured

 3 the deadbolt. Id. at 161–65. M.L. testified she heard Robles “saying like to let go of her and that

 4 she needed to go inside,” and when M.L. opened the door, Robles spoke with Lopez, and he

 5 seemed “angry.” ECF No. 64-1 at 93–94. M.L. said she “shut the door at him.” Id.

 6         Robles went to the laundry room, which doubles as a bathroom, and Lopez called her on

 7 the telephone, but she told him they could talk on her day off. ECF No. 63-3 at 165–67. Robles

 8 hung up on Lopez, and when she opened the door to leave the room, “there was [Lopez].” Id. at

 9 168. Robles did not know how Lopez got into the house, and she was afraid because he was

10 “upset,” his eyes were “bloodshot,” and he “didn’t look right.” Id. at 169. Lopez said he had just

11 one question and asked whether he had a chance to reunite as her husband, but she told him,

12 “No.” Id. at 169. Lopez responded by telling her she was “going to die,” pulling out a knife, and

13 stabbing her in the chest. Id. at 170–71. Robles kept her iPod and cellular phone in her brassiere,

14 and they blocked some of Lopez’s attempts to stab her. Id. Robles yelled for the baby-sitter,

15 Michelle, and then Lopez stabbed Robles four times in the stomach and in the throat, back,

16 hands, and next to her knee. Id. at 171–72, 175–76. Deborah “Michelle” Arevalo testified she

17 was Robles’s baby-sitter, and she awoke at about 3:30 a.m. to Robles’s screaming “Mario, No,”

18 and then saw Robles “drenched in blood” by the door to the laundry room, holding her belly and

19 “barely walking,” so she called 911. ECF No. 64-1 at 37, 41, 49–52.

20         M.L. testified she awoke to Robles yelling Lopez’s name, left her bedroom, and saw

21 Lopez stabbing Robles. Id. at 97–98. M.L. said Lopez told her she was “going to die too”

22 because everything was her fault too. Id. at 100–01. M.L. said Lopez walked toward her with a

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 1 knife in his hand but did not raise it at her, and then her brother, A.L., came out of his bedroom,

 2 and Lopez went toward A.L., and they ended up in A.L.’s bedroom. Id. at 101–02, 117.

 3           A.L. testified he was 15 years old on the night of the stabbings when he awoke to Robles

 4 having a conversation in the living room. Id. at 144–51. A.L. said that earlier that afternoon,

 5 Lopez got “mad” after A.L. told him to leave the premises. Id. at 146–48. When A.I. heard

 6 Robles “screaming for help” he exited his bedroom and saw Lopez. Id. at 150–53, 166. Lopez

 7 called him a “puta,” which means “bitch” in Spanish; pushed, shoved, punched, and stabbed A.I;

 8 pushed A.I. into his bedroom; and when A.L. tried to run, Lopez stabbed him again. Id. Lopez

 9 stabbed him in the arm and back and then A.L. lost consciousness. Id. at 153–54, 164, 166.

10           Nine-year old M.L.J. testified he shared the bedroom with A.L. and saw Lopez stab A.L.

11 three times with a knife. Id. at 139–42. A.L. did not recall Lopez threatening to kill him when

12 Lopez stabbed him, but he later heard Lopez say he would kill all of them. Id. at 159, 163–66.

13 M.L. saw A.L. exit his bedroom with “blood on his arm” and “back.” Id. at 104. Michelle did

14 not see Lopez stab anyone or cut himself, but she saw A.L. come out of “the same hallway that

15 his dad came out of” with “lacerations in his left arm” and “bleeding from his back.” Id. at 56,

16 68, 70.

17           M.L. testified she heard thumps in A.L.’s bedroom, saw Lopez run out A.L.’s bedroom

18 and out the front door of the house followed by L.L. who chased after him but returned when

19 M.L. told her to come back so she could lock all of the doors. Id. at 102–04. M.L. said Lopez

20 returned, banged on the windows, cut his wrists and neck, wiped his blood on the windows, and

21 yelled that he was going to kill all of them, and they were “going to die together.” Id. at 105–07.

22 L.L. testified Lopez tried to get back into the house through the doggie door, but she blocked it

23 with a chair, and Lopez told them to open the door to him or he would kill himself. Id. at 133–34.



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 1 L.L. saw Lopez through a window in the backyard “pretending that he was stabbing himself.” Id.

 2 at 136. Robles saw Lopez leave with the weapon, but he returned, wanted back inside the house,

 3 and struggled with the door. ECF No. 63-3 at 174–78. She said she saw him through the

 4 window, cutting his forearms. Id.

 5          North Las Vegas Police Department (NLVPD) officer Teresa Marsh found Lopez

 6 “moaning” on his belly on the back patio holding a knife. Id. at 3–9. Marsh said she would

 7 classify Lopez as unresponsive, although she did not attempt to speak to him. Id. at 10–12, 27.

 8 NLVPD crime scene analyst Wendy Radke testified she found “a screwdriver with apparent

 9 blood on it outside the front door,” “a little pocketknife” on the patio floor “near large puddles of

10 blood” where Lopez was found, a trail of blood around the exterior perimeter of the house, and

11 “what appeared to be bloody stains on windows, doors, you name it. All over.” Id. at 31, 34, 36,

12 44, 53, 60–61, 130. Radke found a path of blood from the house to the street and sidewalks. Id.

13 at 56–57. Inside the home, Radke found apparent blood “everywhere” on the floor, walls,

14 washer, dryer, and sheets on a twin bed. Id. at 54, 120–21, 125–26. Radke said neither the knife

15 nor the screwdriver was submitted for forensic tests, “[b]ecause everyone knew the suspect in

16 this case,” and “he lived there at some point, so all of his DNA and fingerprints would already be

17 in that scene.” Id. at 134–35.

18          NLVPD detective Allen Antoniewicz testified he interviewed Lopez the next day and

19 Lopez never claimed to be drunk or high, or that he ingested methamphetamine on the night of

20 the stabbings but did indicate he took medication for a methamphetamine addiction. 4 ECF No.

21 64-1 at 168–71, 181–84, 188, 194–96.

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23             Lopez’s videotaped interview with police was played for the jury but not transcribed
     into the reporter’s transcript. ECF No. 64-1 at 183. The State’s argument that Lopez “admitted
     in his interview that he stabbed” Robles is consistent with Lopez’s testimony that his statement
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 1          University Medical Center trauma surgeon Jay Coates testified he treated Robles and A.L

 2 for their stab wounds the night of the stabbings. ECF No. 63-3 at 79–82. Robles required

 3 surgery for multiple potentially life-threatening stab wounds to her abdomen and right breast,

 4 caused by significant force. Id. at 91–96. A.L. had potentially life-threatening stab wounds to the

 5 chest and back that penetrated the chest cavity and lung, and deep lacerations on his forearms

 6 that were “possibly defensive wounds.” Id. at 84–90, 94.

 7          Coates testified another surgeon treated Lopez for a non-life-threatening “superficial

 8 knife stab wound to the left chest” only one centimeter in length, plus multiple bilateral wrist

 9 lacerations. Id. at 96, 108, 110–12. The hospital records indicate Lopez spoke but did not answer

10 questions and received 15 sutures. Id. at 107–08. Coates also testified that, according to the

11 medical records, Lopez’s wounds would not cause loss of consciousness, but that Lopez’s vital

12 signs “could be” consistent with someone under the influence of methamphetamine. Id. at 107–

13 08, 112. A juror asked Coates to “be more clear concerning defining meth vitals” and the doctor

14 responded in relevant part:

15                          There’s really no set of vital signs that would dictate or say,
                    this person’s on meth, or this person’s not on meth. They’re
16                  really—they just don’t exist.

17                           Now, what you can say are there are characteristics of
                    people who are on methamphetamine. Methamphetamine in and
18                  of itself tends to cause your heart rate to be increased; tends to
                    cause your blood pressure to be increased. The patients will often
19                  be diaphoretic; cold, clammy, kind of sweaty. They’ll act nervous.
                    They might twitch a little bit. One of the common vernaculars is
20                  that they’re twitching because of those.

21 Id. at 114.

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     to police was different than his trial testimony and defense counsel’s concession in closing
     argument that Lopez stabbed Robles and A.L. See ECF No. 28-3 at 129, 152.
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 1          Lopez testified he started taking prescribed medication to quit using methamphetamine

 2 during the first week of July 2012. 5 ECF No. 28-3 at 16–18. He explained that his addiction to

 3 methamphetamine caused him anxiety, anxiety is not controllable, and anxiety makes it “very

 4 difficult” to abstain from using methamphetamine. Id. at 40. He thought the medication would

 5 control his anxiety so he would stop smoking methamphetamine. Id. at 19. He took the

 6 medication as prescribed on the morning of July 20, 2012, but had never before taken the

 7 medication along with methamphetamine until the night of the stabbings. Id. at 19–20. Lopez

 8 said he voluntarily left the family home and had received no legal paperwork for a protection

 9 order. Id. at 77–78. He said he was not certain whether an order existed, or was “made up,”

10 because neither he nor Robles honored one. Id. He explained that, although he did not live in the

11 family home, Robles permitted him to “wash, bathe” and keep his clothing and medication there.

12 Id. at 41–42.

13          Lopez said he received a call from Robles and M.L. on July 20 asking for help because

14 the white truck was not working properly. Id. at 21. He went “home,” inspected the vehicle, and

15 informed Robles the truck could not be used because the motor was damaged. Id. at 21–22. He

16 told Robles he would use the “blue” truck to give her a ride from work, but she told him “No”

17 because it was unregistered. Id. He said that, although he knew it was wrong, he placed the

18 license plate for the white truck onto the blue truck and drove the blue truck, accompanied by

19 M.L. and L.L., to Robles’s workplace around 1:00 a.m. Id. at 22–23.

20          Lopez claimed he and Robles agreed he would pick her up but she “changed her

21 character” and was “furious” that he put the white truck’s license plates on the unregistered blue

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23            Lopez testified the medication was called “something like” “diopreopion.” ECF No. 28-
     3 at 18. In his postconviction proceedings, he presented a copy of his prescription for Wellbrutin
     and documents stating the generic name for Wellbrutin is “bupropion.” ECF No. 32-14 at 51–60.
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 1 truck, and told him to leave. Id. at 23–24. Lopez was surprised she was furious because they

 2 agreed to it, it was not the first time they did it, and M.L. told her what he did and that they were

 3 on their way. Id. at 54. He said he told Robles, “But we’re already here. I’ll wait for you, we

 4 can go, I’ll leave you at home and everything’s fine.” Id. at 24. He said, “she hung up” and he

 5 told his daughters “Mom got mad, we’re going to have to go back.” Id. He said he went inside

 6 Robles’s workplace and told her, “Maria, we’re already here. I’m going to wait for you and we

 7 can go. Your daughters are here,” but Robles was “extremely anxious,” and said it was better

 8 that they leave. Id. Lopez said they left around 2:10 a.m., he “did what she told” him to, and he

 9 returned the truck where he found it. Id. He used to work at the same place as Robles and one of

10 the men who worked there told him the reason Robles did not want him there was because she

11 had a boyfriend there. Id. at 55. Lopez did not recall telling his daughters Robles would regret

12 not taking a ride home from him. Id. at 56–57.

13         Lopez testified he returned to the house around 2:35 or 2:40 a.m., and “fell off the

14 wagon” by drinking a “big” bottle of beer that was in the refrigerator. Id. at 24–25. Robles,

15 however, testified she did not drink alcohol and did not have beer in her house that night. ECF

16 No. 64-1 at 15. Lopez said he also smoked “a lot” of methamphetamine with neighbors that

17 night, including Sarah, George, and Luigi, and although he could not recall exactly what time

18 that occurred, he estimated it was around 2:50 or 2:55 a.m. ECF No. 28-3 at 25–26. He said he

19 then waited inside the blue truck until Robles returned home. Id. at 26–27.

20         Lopez testified that when Robles returned, instead of going inside the house she went

21 back out and disappeared; when she did not readily return, he walked toward the park and found

22 her in a white truck kissing a man. Id. at 28, 64–67. Lopez said he hit the truck window and

23 asked, “What are you doing?” and the “boyfriend or lover got out,” and they fought. Id. He said



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 1 there were no weapons involved, the fight lasted “40 seconds, less than a minute,” the other man

 2 “won,” and the man left “all angry.” Id. at 29.

 3         Lopez testified that after the man in the white truck left, he followed Robles back to the

 4 front door of the house and asked her why she cheated on him. Id. He said he tried to talk to her,

 5 but she was furious and told him to leave, and he told her they had to come to an arrangement

 6 because he asked for help. Id. Lopez said his daughter M.L. opened the door and Robles

 7 “pushed” him with a screwdriver. Id. at 29–30, 70. He said he pulled the screwdriver out of

 8 himself and, although there “wasn’t a big wound,” he was “bleeding a little.” Id. He said Robles

 9 locked him out using the deadbolt, so he grabbed the phone and went inside the house through

10 the backdoor using his key as he had keys to the house and all the cars. Id. at 30–31.

11         Lopez claimed he and Robles began a telephone conversation over the phone, but when

12 he realized she was in the bathroom, he hung up and waited for her outside the bathroom while

13 they “continued the same conversation.” Id. at 32. He said she opened the door and attacked him

14 with a knife, and he did not remember anything after that “because everything was just a struggle

15 trying to take the knife from her.” Id. at 32–33. He said he felt “strange,” “heat,” and “cold,” and

16 saw “red and gray and everything was spinning.” Id. He recalled running from the house and

17 one of his daughters yelled after him, and that he returned and saw Robles “all bloody.” Id. He

18 said he awoke in the hospital and had stitches on his arms and chest. Id. at 33, 35.

19         Lopez did not recall stabbing Robles, cutting his own wrists, trying to get into the house

20 through the doggy door, smearing blood on the kitchen window, having any interaction with

21 A.L., the police arriving, or the ambulance taking him to the hospital. Id. at 33–34. Lopez

22 testified he had “no intention of hurting anyone” and he “just tried to defend” himself from

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 1 Robles’s attack. Id. at 38. Lopez agreed his medical records from the night of the stabbings

 2 indicate he took no medications but that he stated he drank alcohol. Id. at 43.

 3         Lopez agreed his testimony is different than his statement to police, but claimed he did

 4 not feel well during the police interview and was not sure he answered their questions correctly.

 5 Id. at 36. He also agreed that according to his interview with police, he did not tell them Robles

 6 was in a truck with another man or that Robles stabbed him with a screwdriver. Id. at 72–73.

 7 When asked, “[Y]ou do tell the police that you got angry with her, followed her inside and hit

 8 her with the knife,” he stated, “I told the policeman, I’ll repeat it again. I’m not entirely certain I

 9 responded properly or I responded correctly to those questions. I was not feeling well.” Id. at 88.

10 He confirmed he told police he had no clue what happened to A.L. and still did not know at trial.

11 Id. at 90. When asked whether he committed the stabbings, he said, “I don’t remember doing it.”

12 Id. at 92–93. Robles testified as a rebuttal witness that she did not stab Lopez with a screwdriver

13 or attack him with a knife and he did not have to remove a knife from her hands. Id. at 110.

14         After he was convicted and sentenced, Lopez unsuccessfully sought relief on direct

15 appeal and in state postconviction proceedings. ECF Nos. 31-2; 34-13.

16 II.     Antiterrorism and Effective Death Penalty Act (AEDPA)

17         The Antiterrorism and Effective Death Penalty Act (AEDPA) provides the legal

18 standards for my consideration of the petition:

19                 (d) An application for a writ of habeas corpus on behalf of a person
                   in custody pursuant to the judgment of a State court shall not be
20                 granted with respect to any claim that was adjudicated on the
                   merits in State court proceedings unless the adjudication of the
21                 claim—

22                         (1) resulted in a decision that was contrary to, or
                           involved an unreasonable application of, clearly
23                         established Federal law, as determined by the
                           Supreme Court of the United States; or

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                           (2) resulted in a decision that was based on an
 2                         unreasonable determination of the facts in light of
                           the evidence presented in the State court
 3                         proceeding.

 4 28 U.S.C. § 2254(d).

 5          A state court’s decision is contrary to clearly established Supreme Court precedent within

 6 the meaning of 28 U.S.C. § 2254(d)(1) “if the state court applies a rule that contradicts the

 7 governing law set forth in [the Supreme Court’s] cases” or “if the state court confronts a set of

 8 facts that are materially indistinguishable from a decision of [the Supreme] Court and

 9 nevertheless arrives at a result different from [Supreme Court] precedent.” Lockyer v. Andrade,

10 538 U.S. 63, 73 (2003) (quoting Williams v. Taylor, 529 U.S. 362, 405–06 (2000), and citing

11 Bell v. Cone, 535 U.S. 685, 694 (2002)).

12          A state court’s decision is an unreasonable application of clearly established Supreme

13 Court precedent within the meaning of 28 U.S.C. § 2254(d)(1) “if the state court identifies the

14 correct governing legal principle from [the Supreme] Court’s decisions but unreasonably applies

15 that principle to the facts of the prisoner’s case.” Id. (quoting Williams, 529 U.S. at 413). “The

16 ‘unreasonable application’ clause requires the state court decision to be more than incorrect or

17 erroneous . . . [rather] [t]he state court’s application of clearly established law must be

18 objectively unreasonable.” Id. (quoting Williams, 529 U.S. at 409–10, 412) (internal citation

19 omitted). A “state court’s determination that a claim lacks merit precludes federal habeas relief

20 so long as ‘fairminded jurists could disagree’ on the correctness of the state court’s decision.”

21 Harrington v. Richter, 562 U.S. 86, 101 (2011) (citing Yarborough v. Alvarado, 541 U.S. 652,

22 664 (2004)). “Even a strong case for relief does not mean the state court’s contrary conclusion

23 was unreasonable.” Id. (citing Lockyer, 538 U.S. at 75); see also Cullen v. Pinholster, 563 U.S.

     170, 181 (2011) (describing the standard as a “difficult-to-meet” and “highly deferential standard
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 1 for evaluating state-court rulings, which demands state-court decisions be given the benefit of the

 2 doubt.”) (internal quotation marks and citations omitted)). The petitioner carries the burden of

 3 proof. Pinholster, 563 U.S. at 181 (citing Woodford v. Visciotti, 537 U.S. 19, 24 (2002)).

 4            A state court is not required to cite Supreme Court cases or even be aware of them, “so

 5 long as neither the reasoning nor the result of the state-court decision contradicts them.” Early v.

 6 Packer, 357 U.S. 3, 8 (2002). If a state court denies a federal constitutional claim on the merits

 7 without explanation, a federal habeas court “determine[s] what arguments or theories supported

 8 or . . . could have supported, the state court’s decision,” and then considers “whether it is

 9 possible fairminded jurists could disagree that those arguments or theories are inconsistent with

10 the holding in a prior decision of [the Supreme] Court.” Richter, 562 U.S. at 102.

11            Where there is no clearly established federal law, i.e., no holding from the Supreme

12 Court, stating a particular standard or rule at the time of the state court decision, then by

13 definition a petitioner cannot establish under AEDPA that the state court’s decision was either

14 contrary to or an unreasonable application of clearly established federal law. See, e.g., Carey

15 v. Musladin, 549 U.S. 70, 76–77 (2006); see also Williams, 529 U.S. at 412 (interpreting “the

16 meaning of the phrase ‘clearly established Federal law, as determined by the Supreme Court of

17 the United States’” contained in 28 U.S.C. § 2254(d)(1) as referring to “the holdings, as opposed

18 to the dicta, of the [Supreme] Court’s decisions as of the time of the relevant state-court

19 decision.”) (emphasis in original).

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 1 III.     Discussion

 2          A.      Ground 1—Prosecutorial Misconduct

 3          Ground 1 alleges the prosecutor engaged in misconduct during cross-examination and

 4 argument that individually and cumulatively violated Lopez’s rights to due process and a fair

 5 trial guaranteed by the Fifth, Sixth, and Fourteenth Amendments. ECF No. 17 at 7–19. 6

 6                  1.      Applicable Legal Principles

 7          For purposes of habeas review under AEDPA, the “clearly established Federal law”

 8 governing claims of prosecutorial misconduct is set forth in Darden v. Wainwright, 477 U.S. 168

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            6
            For all grounds raised in the petition, Lopez claims the Supreme Court of Nevada’s
11 determinations are contrary to, or involved an unreasonable application of, clearly established
   federal law, and involved an unreasonable determination of the facts in the record. ECF No. 17 at
12 10, 13, 16, 18, 19, 39, 44. In his reply brief, however, Lopez claims for the first time that this
   court must conduct de novo review of grounds 1(a) and 1(c) because the Supreme Court of
13 Nevada applied plain error review and, in doing so, failed to apply the proper standard to his
   federal constitutional claims of prosecutorial misconduct. ECF No. 59 at 7–10. I decline to
14 consider new arguments Lopez raises for the first time in the counseled reply brief. See Zamani
   v. Carnes, 491 F.3d 990, 997 (9th Cir. 2007); see also Novosteel S.A. v. U.S., Bethlehem Steel
15 Corp., 284 F.3d 1261, 1274 (Fed. Cir. 2002) (holding that reply briefs reply to arguments made
   in the response brief and do not provide the moving party with a new opportunity to present yet
16 another issue for the court’s consideration).

17           Even if I were to consider the argument, the argument lacks merit because Lopez cannot
     overcome the presumption that the Supreme Court of Nevada adjudicated the federal
18   constitutional claims on the merits. The claims were fairly presented, the court’s affirmance
     order acknowledged and analyzed the claims, and the court cited authorities that cited the proper
19   federal standards. See Valdez v. State, 124 Nev. 1172, 1189 n.42, 196 P.3d 465, 475 n.42 (2008)
     and Thomas v. State, 120 Nev. 37, 47 n.35, 83 P.3d 818, 825, n.35 (2004). Moreover, Lopez
20   never filed a petition for rehearing in the Supreme Court of Nevada claiming that court failed to
     apply the correct legal standards to his federal constitutional claims. Finally, a state court is not
21   required to cite Supreme Court cases or even be aware of them, “so long as neither the reasoning
     nor the result of the state-court decision contradicts them.” Packer, 357 U.S. at 8. Accordingly,
22   review is deferential under AEDPA. See Johnson v. Williams, 568 U.S. 289, 298 (2013) (citing
     Richter, 562 U.S. 99); see also, e.g., Stewart v. Trierweiler, 867 F.3d 633, 638 (6th Cir. 2017)
23   (holding AEDPA deference applied to state court’s plain error review of prosecutorial
     misconduct claims); Lee v. Comm’r, Ala. Dep’t of Corr., 726 F.3d 1172, 1208 (11th Cir. 2013)
     (“AEDPA deference may apply to a state court’s plain-error ruling.”); Douglas v. Workman, 560
                                                      14
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 1 (1986). Parker v. Matthews, 567 U.S. 37, 45 (2012). “[A] prosecutor’s improper comments will

 2 be held to violate the Constitution only if they ‘so infected the trial with unfairness as to make

 3 the resulting conviction a denial of due process.’” Id. at 45 (quoting Darden, 477 U.S. at 181)

 4 (simplified). “[U]nder Darden, the first issue is whether the prosecutor’s conduct was improper

 5 and, if so, whether they infected the trial with unfairness.” Tan v. Runnels, 413 F.3d 1101, 1112

 6 (9th Cir. 2005). The Darden standard “is a very general one, leaving courts ‘more leeway . . . in

 7 reaching outcomes in case-by-case determinations.’” Parker, 567 U.S. at 48 (quoting

 8 Yarborough v. Alvarado, 541 U.S. 652, 664 (2004)).

 9          “It is not enough that the prosecutor’s remarks were undesirable or even universally

10 condemned.” Darden, 477 U.S. at 180–81 (quotation omitted). To determine whether a

11 prosecutor’s comments rise to the level of a due process violation, the reviewing court must

12 examine the entire proceedings and place the prosecutor’s remarks in their proper context. Boyde

13 v. California, 494 U.S. 370, 384–85 (1990); see also Darden, 477 U.S. at 179 (“The prosecutors’

14 comments must be evaluated in light of the argument that preceded it . . . .”); see also United

15 States v. Young, 470 U.S. 1, 12 (1985) (“In order to make an appropriate assessment, the

16 reviewing court must not only weigh the impact of the prosecutor’s remarks, but must also take

17 into account defense counsel’s opening salvo.”). “A slight misstatement of law by a prosecutor

18 can be rendered harmless by the court’s proper instruction to the jury.” United States v.

19 Mendoza, 244 F.3d 1037, 1044 (9th Cir. 2001) (citing Lingar v. Bowersox, 176 F.3d 453, 460

20 (8th Cir. 1999) (“When counsel misstates the law, the misstatement is harmless error if the court

21 properly instructs the jury on that point of law or instructs that the attorneys’ statements and

22

23
     F.3d 1156, 1170–71 (10th Cir. 2009) (holding AEDPA deference applies to plain error review
     “to the extent that the state court finds the claim lacks merit under federal law.”).
                                                     15
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 1 arguments are not evidence.”). A jury is presumed to follow the court’s instructions. Weeks v.

 2 Angelone, 528 U.S. 225, 234 (2000).

 3         Factors to consider when determining whether a prosecutor’s comment “rendered a trial

 4 constitutionally unfair” include: (1) whether the comment misstated or manipulated the evidence;

 5 (2) whether the judge admonished the jury to disregard the comment; (3) whether defense

 6 counsel invited the comment; (4) whether defense counsel had an adequate opportunity to rebut

 7 the comment; (5) the prominence of the comment in the context of the entire trial; and (6) the

 8 weight of the evidence. See Hein v. Sullivan, 601 F.3d 897, 912–13 (9th Cir. 2010) (citing

 9 Darden, 477 U.S. at 181–82).

10                 2.     Ground 1(a)—Argument About Intoxication Instruction

11         Lopez claims the prosecutor committed misconduct in violation of due process by

12 misstating the law of voluntary intoxication and shifting to Lopez the burden of proving he

13 lacked specific intent for the attempted murder, burglary, and assault charges. He asserts that the

14 prosecutor “improperly told the jury that intoxication could not be considered unless certain

15 physical attributes were present.” ECF No. 17 at 9 (emphasis omitted).

16                        a.      Additional Background

17         Before opening statements, the trial judge instructed the jury as follows:

18                         As you know, this is a criminal case, and there are two
                   basic rules you must keep in mind. First, the defendant is
19                 presumed innocent unless proved guilty beyond a reasonable
                   doubt. The defendant is not required to present any evidence or
20                 prove his innocence. The law never imposes upon a defendant in a
                   criminal case the burden of calling any witnesses or introducing
21                 any evidence. Second, to convict, the State must prove beyond a
                   reasonable doubt that a crime—that the crimes were committed,
22                 and defendant is the person who committed them.

23 ECF No. 62-1 at 233.



                                                    16
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 1         In opening remarks, the defense argued the evidence would show Lopez consumed

 2 prescription medication, beer, and methamphetamine before the stabbings, did not recall some of

 3 the events of the night in question, and these facts would be relevant to the jury’s determination

 4 of intent for some of the charges. Id. at 263–68. Defense counsel used a rock-throwing

 5 hypothetical to illustrate the difference between general and specific intent:

 6                         Let’s say you and I get in an argument on a street corner
                   over a parking place, and the argument gets heated, and we get
 7                 angry. And we say mean things to each other, and we use foul
                   language, and we get angrier and angrier. And I get to the point
 8                 where I’m so mad I pick up a rock with the intent to throw the rock
                   at you, and I hit you with the rock after I’ve intended to throw it.
 9                 And you get injured, and you go to the hospital . . . .

10                          If my intent was simply to hit you with the rock because I
                   was mad at you, then that’s not attempt[ed] murder, because
11                 attempt[ed] murder requires the intent—specific intent unlawfully
                   to kill. And these are the kinds of things that you’re going to have
12                 to think about during your deliberation. Was that—did that intent
                   exist looking at the prior interaction, looking at the interaction after
13                 the fact, and looking at what happened in the moment?

14 Id. at 265.

15         In closing remarks, the prosecutor explained the intoxication instruction and argued

16 Lopez’s intoxication may have caused him to make bad decisions that he would regret, but he

17 was not so intoxicated he lacked the ability to form specific intent to commit the crimes:

18                         Then talking about the intoxication, because we’re going to
                   get into the specific intent crimes, the intoxication instruction,
19                 when you look at it, what it breaks down to is that you may
                   consider whether intoxication affects specific intent requirements.
20                 However, it is not an excuse. Intoxication is absolutely not an
                   excuse for a crime. You absolutely still are criminally liable if you
21                 commit a crime when you’re under the influence of alcohol or
                   drugs.
22
                           The only reason you consider intoxication is if the person is
23                 so intoxicated that it stops them from being able to form the intent
                   required to commit the crime. So if you break it down a little bit,


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 1          you have to kind of separate. We’re not talking about bad
            decisions here. We’re talking about no specific intent.
 2
                   So if somebody gets . . . really drunk and they start making
 3          bad decisions, they get in an argument with a family member that
            they might regret the next day or make a bad decision to do a bad
 4          karaoke rendition, I don’t know. There’s a lot of bad decisions that
            people who are drunk or high make all the time. But it doesn’t
 5          mean that they didn’t intend to make those decisions.

 6                  At the time they might have thought that singing that
            karaoke song was a great idea. They didn’t feel so good about it
 7          the next day, but it was just a bad decision. It wasn’t that they
            didn’t intent to do it. In order for intoxication to actually play a
 8          legal role, the intoxication has to be so extreme that the person
            can’t even figure out what they’re doing.
 9
                     This is when you’re down on the strip sometimes, if you
10          end up going down there on a weekend and you end up seeing all
            the drunk tourists, this is like the worst of the worst one that you’re
11          seeing, the one who is slurring, they can’t talk, they can’t hold
            their head up, they can’t look straight, they’re stumbling, their
12          friends are carrying them. The person who literally can’t figure
            out where they are or what they’re doing. That’s the kind of
13          intoxication that it takes in order to not be able to form—in order
            to be able to form intent. It has to be so bad that the person
14          literally doesn’t even know what they’re doing.

15                 And one thing that’s really important to think about here,
            especially in light of the fact that since the defendant’s interview
16          with the detectives he has lost all memory of stabbing his wife, I
            want to point out that the memory, whether or not someone
17          remembers something after they’re drunk has nothing to do with
            whether or not they intended it at the time.
18
                    You might—someone might be drunk or high and so they
19          don’t remember everything that happened when they were drunk
            or high. But if someone else was there and tells them, oh, well,
20          yep, I saw you singing that karaoke song, you marched right up
            there to the DJ and you said I want to look at that book, and I’m
21          looking for this specific song and I want to find Ozzy Osbourne
            and I want to sing Crazy Train.
22
                   And I’m going to get up there and I’m going to sing Crazy
23          Train and I’m going to do it the best I ever could, and the person
            goes up there and they sing the greatest, most embarrassing

                                              18
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 1                rendition of Crazy Train ever in the history of karaoke. And the
                  next day they’re like, oh, my gosh, I don’t remember any of that.
 2                Well, when you go back and ask their friends about it, their friends
                  tell this whole story about how determined the person was to sing
 3                Ozzy Osbourne that night.

 4                         So clearly at the time the person intended to sing Ozzy
                  Osbourne. That doesn’t mean that—that doesn’t mean that they
 5                were so intoxicated that they couldn’t form the intent. Just because
                  they don’t remember it the next day, they meant to do it when they
 6                were doing it. So just—that’s a good example of a bad decision
                  versus specific intent. And just because a person doesn’t
 7                remember it the next day doesn’t mean that they didn’t mean to do
                  it at the time. You’ve got to go back and look at what were their
 8                actions at the time to figure out did they mean to do it when they
                  did it.
 9

10 ECF No. 28-3 at 132–35.

11         The defense responded to this in closing remarks by emphasizing the jury should follow

12 the intoxication instruction and consider Lopez’s intoxication in determining whether he could

13 formulate the specific intent to kill Robles and A.L, commit burglary, and assault M.L:

14                        I’d like to begin this afternoon and speak with you about
                  these two charges of attempt[ed] murder with use of a deadly
15                weapon. As [the prosecutor] spent a considerable amount of time,
                  these charges require a specific intent to kill. In other words, if
16                you don’t find that he had a specific intent to kill . . . you cannot
                  find him guilty of attempt[ed] murder with use of a deadly weapon.
17
                           If you determine after going back and reading these jury
18                instructions, and some of them are kind of technical, after reading
                  them and reviewing your notes and going over your own personal
19                observations, if you determine he did not have the specific intent to
                  kill, then you find him not guilty of those two counts, folks.
20
                  ....
21
                          [N]ow you heard [Lopez] testify that he had smoked meth
22                just prior to [Robles] arriving at the house. We also learned this
                  was the first time he mixed his prescription medication to help him
23                with his meth addiction. On top of that, he also had a tall boy beer.
                  That’s what you heard.


                                                   19
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 1                ....

 2                        Folks, [Lopez] was found face down, passed out in the
                  backyard. You’re passed out when you’re high. The State can’t
 3                have it both ways, folks. The defense is perfectly comfortable
                  leaving it for you to decide whether or not [Lopez] was intoxicated
 4                in the early morning hours of this incident. And we’ll just let you
                  decide that. If you follow the law, you can’t [sic] consider his
 5                voluntary intoxication in regards to whether he actually did have
                  an intent to kill.
 6
                           The State asked [Robles] about this crazy look she—the
 7                crazy look that she saw [Lopez] have when she opened the door to
                  the bathroom. [The prosecutor], in his opening argument, he
 8                quoted Sigmund Freud. [The prosecutor] in her closing argument
                  is talking about karaoke. I’m going to quote somebody in my
 9                closing. I’m going to quote [Robles]. [Lopez] didn’t look right,
                  there was something about his eyes, his eyes were bloodshot.
10
                          The State kept asking these witnesses, well, there’s no beer
11                in the house, right? But it’s this, ah-ha, got you moment. He was
                  high, folks. Let me quote somebody else, his daughter, [M.L.]. It
12                appeared as if he had been drinking. These aren’t my words, folks.

13                       Now this is certainly relevant in determining whether or not
                  he was under the influence of anything when you read that
14                voluntary intoxication instruction, guys. I want you to go back and
                  I want you to read it carefully.
15
                  ....
16
                          Folks, let’s talk a little bit about this burglary charge.
17                Burglary requires a specific intent that [the prosecutor] was
                  speaking with you about. Again, if you look at the voluntary
18                intoxication instruction, we believe that you should find him not
                  guilty of that burglary simply because of the intent factor and he
19                was in an impaired state of mind.

20 Id. at 155–56, 159–60, 166.

21         In rebuttal, the prosecutor conceded intoxication can be used to determine whether Lopez

22 had the requisite specific intent and argued the evidence disproved the intoxication theory:

23                       We should probably just for a moment talk about this
                  intoxication. Now, the most important thing that you need to
                  understand is this voluntary—voluntary intoxication . . . .
                                                   20
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 1
                              That alone is not an excuse. It can be used, however, as my
 2                    co-counsel has pointed out, perhaps for your determination of
                      whether or not he—he formed the prerequisite requirements of
 3                    specific intent to commit these crimes. But it’s not an excuse.

 4 Id. at 177.

 5          The trial judge instructed the jury that the prosecution had the burden of proof: “The

 6 Defendant is presumed innocent until the contrary is proved. This presumption places upon the

 7 State the burden of proving beyond a reasonable doubt every material element of the crime

 8 charged and that the Defendant is the person who committed the offense.” ECF No. 28-1 at 21.

 9 The judge instructed that the State must prove specific intent beyond a reasonable doubt and the

10 jury may consider intoxication in determining whether the defendant had the specific intent

11 required for the charges of attempted murder, burglary, and assault. Id. at 20, 22–23, 26. 7

12                                   b.      State Supreme Court’s Determination

13          On direct appeal, the Supreme Court of Nevada found the prosecutor’s remarks

14 concerning voluntary intoxication and specific intent did not constitute misconduct:

15                           [L]opez contends that the prosecutor committed numerous
                      instances of misconduct. When reviewing allegations of
16                    prosecutorial misconduct, we first consider whether the
                      prosecutor’s conduct was improper, and then determine whether
17                    any improper conduct warrants reversal. See Valdez v. State, 124
                      Nev. 1172, 1188, 196 P.3d 465, 476 (2008).
18
            7
                At the relevant time, Nevada’s voluntary intoxication statute stated:
19
                      No act committed by a person while in a state of voluntary
20                    intoxication, shall be deemed less criminal by reason of his or her
                      condition, but whenever the actual existence of any particular
21                    purpose, motive or intent is a necessary element to constitute a
                      particular species or degree of crime, the fact of the person’s
22                    intoxication may be taken into consideration in determining the
                      purpose, motive, or intent.
23
     NRS § 193.220; see also Nevius v. State, 101 Nev. 238, 249, 699 P.2d 1053, 1060 (1985)
     (holding jury may consider voluntary intoxication if “some evidence” supports such a theory).
                                                       21
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 1
                           [L]opez contends that the prosecutor committed
 2                 misconduct by misstating the law regarding voluntary intoxication.
                   Because Lopez did not object, we review this contention for plain
 3                 error. Id. at 1190, 196 P.3d at 477. During closing argument, the
                   State argued that voluntary intoxication does not play a legal role
 4                 unless the intoxicated individual “is slurring, they can’t talk, they
                   can’t hold their head up, they can’t look straight, they’re
 5                 stumbling, their friends are carrying them. [They] literally can’t
                   figure out where they are or what they’re doing.”
 6
                           Lopez asserts that this suggested to the jury that they were
 7                 prohibited from considering his defense of voluntary intoxication
                   because he did not exhibit these symptoms, which shifted the
 8                 burden of proof to him. We disagree. Considering the statements
                   in context, the prosecutor appropriately argued that even if Lopez
 9                 was intoxicated, he was not so intoxicated that he was unable to
                   form the intent to commit the charged crimes. Moreover, after the
10                 prosecutor made these comments, he went on to contrast
                   individuals who merely make bad decisions while intoxicated from
11                 those who are so intoxicated that they cannot form specific intent,
                   explaining that the jury had to look at the defendant’s actions on
12                 the night in question to determine his intent. Finally, the jury was
                   properly instructed regarding the defense of voluntary intoxication,
13                 that the State bore the burden of proof, and that counsel’s
                   arguments are not evidence. We conclude that Lopez fails to
14                 demonstrate plain error.

15 ECF No. 31-2 at 3–4.

16                         c.     Disposition of Ground 1(a)

17          The trial judge properly instructed the jury that the State had the burden to prove beyond

18 a reasonable doubt the specific intent element for the charges of attempted murder, burglary, and

19 assault. They also instructed the jury that it could consider Lopez’s intoxication in determining

20 whether the State proved Lopez had the requisite specific intent for those crimes. In closing and

21 rebuttal, the prosecutor conceded the jury must consider intoxication in determining whether the

22 State proved specific intent. In response to the defense hypothetical in opening remarks

23 concerning specific intent, the prosecutor used a hypothetical to illustrate the difference between

     poor decision-making and specific intent while intoxicated, to argue Lopez was not so
                                                    22
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 1 intoxicated he could not formulate specific intent. Defense counsel countered in closing that the

 2 jury should follow the instruction on intoxication and pointed to evidence that Lopez had

 3 symptoms indicating he was so intoxicated he lacked the ability to form specific intent, including

 4 Robles’s testimony that Lopez had “bloodshot eyes” and a “crazy” look just before he stabbed

 5 her, his daughter’s testimony that he seemed like he had been drinking when they went to

 6 Robles’s workplace a couple of hours before the stabbings, the fact that police found Lopez face

 7 down in the backyard, and Lopez’s testimony about his consumption of beer, methamphetamine,

 8 and prescription medication. In rebuttal, the prosecutor pointed to evidence that evinced specific

 9 intent, including Lopez’s lying in wait for Robles, Lopez’s statement that Robles must die when

10 she refused to reunite with him, his threats to kill M.L., the number and life-threatening nature of

11 the stab wounds to Robles and A.L., and his threats that the entire family must die together. At

12 no point did the prosecutor tell the jury Lopez had the burden to prove he was so intoxicated he

13 lacked specific intent to commit the crimes. On this record, it is objectively reasonable to

14 conclude the remarks did not so infect the trial with unfairness as to result in a denial of federal

15 due process. Thus, the Supreme Court of Nevada’s finding that there was no prosecutorial

16 misconduct is neither contrary to nor constitutes an unreasonable application of clearly

17 established federal law, as determined by the Supreme Court of the United States, and that

18 finding is not based on an unreasonable determination of the facts in the record. Accordingly,

19 Lopez is not entitled to federal habeas relief for ground 1(a).

20         I will, however, issue a certificate of appealability for ground 1(a). Jurists of reason

21 could debate the correctness of my decision that the Supreme Court of Nevada reasonably

22 determined the prosecutor’s argument did not constitute misconduct that so infected the trial with

23



                                                     23
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 1 unfairness as to make the resulting convictions for attempted murder, burglary and assault, a

 2 denial of due process. See Slack v. McDaniel, 529 U.S. 473, 484 (2000).

 3                3.      Ground 1(b)—Cross-Examination about the Veracity of Witnesses

 4         Ground 1(b) alleges the prosecutor violated due process and committed misconduct by

 5 asking Lopez whether the victims were mistaken in their testimony. ECF No. 17 at 10–13.

 6         The prosecutor cross-examined Lopez repeatedly asking him whether Robles, A.L., M.L.,

 7 and M.L.J. were “mistaken” in their accounts of his actions on the night in question, including

 8 stabbing Robles and A.L. ECF No. 28-3 at 90–94. Lopez did not challenge the veracity of his

 9 family members, stating, e.g., “They are free to say whatever they want. I respect their

10 decisions, I’m not going to contradict them. I love my children. I respect what they say. If they

11 say that, that’s their problem.” Id. at 90–91. Defense counsel’s objection that it was improper to

12 inquire whether other witnesses were mistaken or lying was overruled. Id. at 91–92.

13         The Ninth Circuit has held it is misconduct for a federal prosecutor to ask a defendant

14 whether another witness lied. See United States v. Del Tort-Barboza, 673 F.3d 1136, 1152 (9th

15 Cir. 2012) (“A prosecutor may not question a defendant on the stand and ask him whether

16 another witness was lying.”); United States v. Harrison, 585 F.3d 1155, 1158 (9th Cir. 2009)

17 (“It’s black letter law that a prosecutor may not ask a defendant to comment on the truthfulness

18 of another witness.”). In Nevada, the State is prohibited from asking a defendant whether other

19 witnesses are “lying” or “mistaken” unless, during direct examination, the defendant directly

20 challenges the truthfulness of those witnesses. See Daniel v. State, 119 Nev. 498, 519, 78 P.3d

21 890, 904 (2003). However, neither the Supreme Court nor the Ninth Circuit has determined it is

22

23



                                                   24
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 1 improper for a prosecutor to ask a defendant whether another witness testified inaccurately.

 2 United States v. Greer, 640 F.3d 1011, 1023 (9th Cir. 2011).

 3          The Supreme Court of Nevada held the cross-examination here was misconduct but

 4 harmless:

 5                         [L]opez contends that, because he had not challenged his
                   family members’ veracity during his direct examination, the
 6                 prosecutor committed misconduct by repeatedly asking him during
                   cross-examination whether they were “mistaken” or not “truthful.”
 7                 See Daniel v. State, 119 Nev. 498, 519, 78 P.3d 890, 904 (2003).
                   On direct examination, Lopez disputed his family’s version of the
 8                 events leading up to the attack, but stated he did not remember the
                   attack itself and did not challenge their version of the attack. On
 9                 cross-examination, the prosecutor repeatedly pushed Lopez
                   towards commenting on the veracity of his family regarding the
10                 unchallenged portions of their testimony. We conclude that this
                   constitutes misconduct, see id., and the district court abused its
11                 discretion by overruling Lopez’s objection to these questions.
                   However, we also conclude that these errors were undoubtedly
12                 harmless in light of the substantial evidence presented at trial and
                   no relief is warranted. See NRS 178.598; Tavares v. State, 117
13                 Nev. 725, 732, 30 P.3d 1128, 1132 (2001) (an error is harmless
                   unless it “had substantial and injurious effect or influence in
14                 determining the jury’s verdict” (internal quotation marks omitted)),
                   holding modified by Mclellan v. State, 124 Nev. 263, 182 P.3d 106
15                 (2008); see also Valdez, 124 Nev. at 1188–89, 196 P.3d at 476.

16 ECF No. 31-2 at 4–5.

17          Lopez cites no clearly established Supreme Court precedent holding a prosecutor’s

18 questioning a witness about whether another witness is mistaken constitutes prosecutorial

19 misconduct. Even deferring to the Supreme Court of Nevada’s determination that the cross-

20 examination constituted prosecutorial misconduct as a matter of state law, it was objectively

21 reasonable to conclude the cross-examination was harmless. Lopez’s defense was not that he did

22 not undertake the actions involved in the offenses, but that he lacked requisite specific intent for

23 some of the charges. Indeed, defense counsel specifically urged the jury to convict Lopez of

     battery on Robles and A.L. with a deadly weapon resulting in substantial bodily harm
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 1 constituting domestic violence. See infra, at pp. 33–34. The prosecutor did not ask Lopez

 2 whether the other witnesses were lying; the prosecutor asked Lopez whether the other witnesses

 3 were mistaken about their recall of the events on the night of the stabbings. Lopez testified he

 4 did not recall the stabbings and therefore could not comment on whether the other witnesses

 5 were mistaken. On this record, it was reasonable to conclude the cross-examination did not so

 6 infect the trial with unfairness as to make the resulting conviction a denial of due process. The

 7 Supreme Court of Nevada’s rejection of this claim is neither contrary to nor constitutes an

 8 unreasonable application of clearly established federal law as determined by the Supreme Court,

 9 and is not based on an unreasonable determination of the facts in the state court record. Lopez is

10 not entitled to federal habeas relief for ground 1(b).

11                 4.      Ground 1(c)—Closing Argument

12         Ground 1(c) alleges the prosecutor committed misconduct during arguments by

13 commenting on prohibited matter, ridiculing and belittling Lopez and his defense of intoxication,

14 and making remarks that were inflammatory, implied personal knowledge, and were unsupported

15 by the evidence. ECF No. 17 at 13–16. The Supreme Court of Nevada rejected these claims:

16                         [L]opez contends that the prosecutor committed
                   misconduct by (1) implying personal knowledge of the events,
17                 (2) making unsupported and speculative statements, (3) demeaning
                   him and his defense, (4) inflaming the jury, and (5) commenting on
18                 prohibited matters. Having considered the statements that Lopez
                   challenges on appeal, we conclude that some crossed the line of
19                 appropriate advocacy; however, Lopez failed to object below, and
                   none rise to the level of plain error. See Valdez, 124 Nev. at 1190,
20                 196 P.3d at 477 (“[A]n error that is plain from a review of the
                   record does not require reversal unless the defendant demonstrates
21                 that the error affected his or her substantial rights, by causing
                   actual prejudice or a miscarriage of justice.” (internal quotation
22                 marks omitted)); see also Thomas v. State, 120 Nev. 37, 47, 83
                   P.3d 818, 825 (2004) (“[A] criminal conviction is not to be lightly
23                 overturned on the basis of a prosecutor’s comments standing
                   alone” (quoting United States v. Young, 470 U.S. 1, 11 (1985))).

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 1 ECF No. 31-2 at 5–6.

 2                           a.     Ground 1(c)(1)—Argument about Methamphetamine 8

 3         Lopez claims the prosecutor implied personal knowledge and experience about

 4 methamphetamine that negated Lopez’s voluntary intoxication defense. ECF No. 17 at 13–14.

 5         Lopez testified he took a beer from Robles’s refrigerator at 2:35 a.m. ECF No. 28-3 at 59.

 6 He said he drank the beer in the blue truck until “approximately” 2:40 a.m., when he joined his

 7 neighbors and smoked “a lot” of methamphetamine with them around 2:50 or 2:55 a.m. Id. at

 8 25–26, 61–62. On cross-examination, however, the prosecutor asked Lopez if he drank a huge

 9 bottle of beer and smoked methamphetamine “in five minutes” between 2:55 and 3:00 a.m., and

10 Lopez replied, “Yes, correct, that’s how it happened.” Id.

11         As discussed, the prosecutor argued in closing that Lopez was not so intoxicated he could

12 not form the specific intent necessary for attempted murder, burglary, and assault. Defense

13 counsel countered in closing that Lopez said it was the first time he consumed methamphetamine

14 while taking the prescription medication, and police found Lopez face down and passed out in

15 the backyard. The prosecutor countered in rebuttal:

16                          And let’s talk about that meth. The defense would like to
                     believe that he had so much meth in his system that he passed out.
17                   Methamphetamine amps you up. That’s why they call them
                     tweakers. You can’t sleep. You don’t go to sleep. You stay wide
18                   awake. So they keep on hanging their hat on this drug use and
                     being drunk. Perhaps he must have gotten some really bad meth
19                   from Luigi that night because he passed out.

20                   ....

21                           I mean, during cross-examination it finally came out that he
                     started drinking that beer at 2:55, and smoking a lot of meth at 2:55
22                   with his buddy Luigi. So Mario and Luigi are smoking meth up a
                     storm and drinking a beer. And then by 3:00 he’s back laying in
23
           8
               I subdivide ground 1(c) for clarity.

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 1                 the car with a mirror, waiting in—in wait. I know tweakers do a
                   lot of fast things, but, boy, that was pretty fast. Not plausible.
 2

 3 Id. at 171–72, 178.

 4         The remarks about the timing of Lopez’s ingestion of methamphetamine were consistent

 5 with Lopez’s testimony on cross-examination. The remarks that methamphetamine is a

 6 stimulant were based on reasonable inferences that could be drawn from Dr. Coates’s testimony

 7 that methamphetamine can cause increased heart rate and elevated blood pressure, that

 8 individuals on methamphetamine “twitch a little bit,” and “[o]ne of the common vernaculars is

 9 that they’re twitching.” Moreover, the prosecutor conceded Lopez was found “passed out.” The

10 trial judge also instructed the jury to consider only the evidence and that arguments and opinions

11 of counsel are not evidence. See supra, at p. 23. On this record, it is objectively reasonable to

12 conclude the prosecutor’s remarks did not so infect the trial with unfairness as to make the

13 resulting convictions a denial of federal due process. The Supreme Court of Nevada’s rejection

14 of this claim is neither contrary to nor constitutes an unreasonable application of clearly

15 established federal law as determined by the Supreme Court, and is not based on an unreasonable

16 determination of the facts in the state court record. Lopez is not entitled to federal habeas relief

17 for ground 1(c)(1).

18                         b.      Ground 1(c)(2)—Argument on Inferences from the Evidence

19         Lopez claims the prosecutor’s rebuttal argument improperly asked the jury to imagine

20 details not supported by the evidence and raised the prohibited topic of domestic violence. ECF

21 No. 17 at 15–16.

22         The trial judge ruled in limine that the State was prohibited from presenting evidence of

23 prior acts of domestic violence and prior bad acts, finding they were substantially more



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 1 prejudicial than probative. ECF Nos. 24-15; 24-19; 24-20 at 14–15. The prosecutor argued in

 2 rebuttal arguments to the jury:

 3                         It screams of specific intent that he wanted to kill. And
                   then when he saw his son, his own flesh and blood son, his first
 4                 born, and he looked at his son and he called him a puto, bitch. If
                   he didn’t have intent to kill, ask yourself how does a father take a
 5                 knife to a defenseless boy after calling him a puto, and start
                   stabbing him in the back?
 6
                           You can almost see it that this poor boy tried to grab his
 7                 dad, you know, perhaps in a bear hug to try to stop him. And what
                   does his dad do? He stabs him in the back. And then after he stabs
 8                 him four times, twice in the arm, twice in the back, he just lets that
                   boy go. And, of course, he took off running because he probably
 9                 realized that his time was up.

10                        Police sirens were going to be around the corner any
                   minute, and so he takes off running, perhaps ran in the direction
11                 where the police were coming from. And when he saw that he
                   decided, no, I still have business to finish. I am not going to go
12                 down for this.

13                 ....

14                         For him then to stick this into the person that he’s losing
                   control gives him the satisfaction that at the end of the day he had
15                 control. To know that he had the satisfaction of having his wife’s
                   warm blood on his own hands as he keeps on sticking this knife
16                 into her one time, two times, three times, four times, five times, all
                   the way to 12 times. That was very personal. He wanted to kill
17                 her.

18                         And with that same thought, to do that to his own son, to
                   actually take this knife that unfortunately, as the State submits to
19                 you, still has the dry blood of his wife and son on it. To shove it in
                   there. And why [A.L.]? Because he was growing up and realized,
20                 huh-uh, dad, it’s not—you’re not going to do this to us anymore.
                   You have to leave.
21

22 ECF No. 28-3 at 179–82.

23          The prosecutor’s argument that Lopez may have expected to hear police sirens and

     returned to the house to finish what he intended drew reasonable inferences from the evidence.
                                                     29
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 1 Michelle called 911 as soon as she saw Robles covered in blood, and after Lopez stabbed Robles

 2 and A.L., he exited the house only to return and tell everyone they were going to die. Argument

 3 about blood on the knife drew a reasonable inference from Lopez’s testimony that there appeared

 4 to be blood on the knife, evidence that Robles and A.L. suffered stab wounds inflicted by Lopez,

 5 and because police found Lopez with the knife. See, e.g., ECF No. 28-3 at 95–96. Argument that

 6 “perhaps” A.L. attempted to give his father a “bear hug” to stop him had no bearing on the

 7 outcome of the trial. Finally, the remarks about Lopez’s motivation for stabbing A.L. did not

 8 mention prior instances of domestic violence; instead, it drew a reasonable inference from

 9 testimony that Robles had a family court order prohibiting Lopez from residing with the family

10 and from unsupervised visits with the children, A.L. asked Lopez to leave the residence earlier

11 that afternoon, and M.L. believed Lopez blamed A.L. for Lopez’s estrangement from the family.

12 On this record, it was objectively reasonable to conclude the prosecutor’s remarks did not so

13 infect the trial with unfairness as to make the resulting convictions a denial of due process. The

14 Supreme Court of Nevada’s rejection of Lopez’s federal claims of prosecutorial misconduct is

15 neither contrary to nor constitutes an unreasonable application of clearly established federal law

16 as determined by the Supreme Court, and is not based on an unreasonable determination of the

17 facts in the record. Lopez is not entitled to relief for ground 1(c)(2).

18                 5.      Ground 1(d)—Disparagement of Lopez and Intoxication Defense

19         Ground 1(d) alleges the prosecutor committed misconduct by ridiculing and belittling

20 Lopez and his intoxication defense during cross-examination and rebuttal. ECF No. 17 at 16–18.

21                         a.      Ground 1(d)(1)—Cross-Examination

22         Lopez claims the prosecutor committed misconduct by belittling and ridiculing him during

23 cross-examination (ECF No. 17 at 16–17):



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 1                   Q: Okay. So you—you called [Robles] while you were already on
                     the way to tell her you’re on—you were going there to pick her
 2                   up?

 3                   A: My daughter [M.L.] called [Robles] and she told her exactly
                     what you just said.
 4
                     Q: Okay. But you didn’t call her to say that?
 5
                     A: No. I can’t be driving and talking on the phone.
 6
                     Q: Oh, that’s—we don’t want to break any laws now do we?
 7
                     A: That’s right.
 8
                     Q: But after all, you already put a fake license plate on that car,
 9                   didn’t you? But this time you know that we can’t drive a car while
                     talking on a phone?
10
                     A: I knew I was doing things that were wrong. Why would I add
11                   more to them?

12                   Q: That’s right, let’s not commit anymore misdemeanors, right?
                     Well, thank you for being law abiding.
13

14 ECF No. 28-3 at 53.

15            It was objectively reasonable to conclude the examination and remarks did not so infect

16 the trial with unfairness as to violate due process because the examination clarified Lopez’s

17 testimony that he did not wish to suffer the consequences if he was stopped for illegally speaking

18 on the telephone while at the same time driving an unregistered vehicle that sported a license

19 plate for a different vehicle. The Supreme Court of Nevada’s rejection of this claim is neither

20 contrary to nor constitutes an unreasonable application of clearly established federal law as

21 determined by the Supreme Court, and is not based on an unreasonable determination of the facts

22 in the record. Lopez is not entitled to relief on ground 1(d)(1).

23 / / / /



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 1                         b.      Ground 1(d)(2)—Argument about Lapsed Memory

 2         Lopez claims the prosecutor belittled him in rebuttal by asking the rhetorical question, “Is

 3 [Lopez] high on meth today that he can’t seem to remember everything?” ECF No. 17 at 17.

 4         In the rebuttal closing, the prosecutor argued:

 5                         [A]lthough, [Lopez] doesn’t—today when he took the
                   witness stand, can’t seem to remember doing anything to [A.L.].
 6                 And today he’s claiming that it was—he was the victim of the
                   assault and that he had to protect himself by self-defense.
 7
                          I mean, just look at his stories. They keep on changing.
 8                 From the opening statement it changes from the moment that you
                   heard his statement to the police to today when he took the witness
 9                 stand. How many versions can Mario Lopez come up with? Is he
                   high on meth today that he can’t seem to remember everything?
10

11 ECF No. 28-3 at 171.

12         It was objectively reasonable to conclude the remarks constituted argument concerning

13 Lopez’s credibility and did not so infect the trial with unfairness as to result in a denial of due

14 process. The Supreme Court of Nevada’s rejection of this claim is neither contrary to nor

15 constitutes an unreasonable application of clearly established federal law as determined by the

16 Supreme Court, and is not based on an unreasonable determination of the facts in the record.

17 Lopez is not entitled to federal habeas relief for ground 1(d)(2).

18                         c.      Ground 1(d)(3)—Argument concerning Luigi

19         Lopez contends the prosecutor ridiculed his defense by referencing “Super Mario

20 Brothers” in argument about Lopez smoking methamphetamine with Luigi. ECF No. 17 at 17.

21         Lopez testified his neighbors, including Sarah, George, and Luigi, invited him to smoke

22 methamphetamine with them. In rebuttal closing, the prosecutor argued:

23                 Perhaps he must have gotten some really bad meth from Luigi that
                   night because he passed out.
                   ....
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 1                 [D]uring cross-examination it finally came out that he started
                   drinking that beer at 2:55, and smoking a lot of meth at 2:55 with
 2                 his buddy Luigi. So Mario and Luigi are smoking meth up a storm
                   and drinking a beer.
 3

 4 ECF No. 28-3 at 172, 178.

 5         The prosecutor’s remarks were based on Lopez’s testimony that Luigi and the others

 6 invited him to smoke methamphetamine with them. There is no objectively reasonable basis to

 7 infer the remarks were a reference to Super Mario Brothers rather than a short-hand reference to

 8 the group of individuals who invited Lopez to smoke methamphetamine, as there were no

 9 references to Super Mario Brothers during the trial. It was objectively reasonable to conclude

10 the prosecutor’s remarks did not so infect the trial with unfairness as to result in a denial of due

11 process. The Supreme Court of Nevada’s rejection of this claim is neither contrary to nor

12 constitutes an unreasonable application of clearly established federal law as determined by the

13 Supreme Court, and is not based on an unreasonable determination of the facts in the record.

14 Lopez is not entitled to federal habeas relief for ground 1(d)(3).

15                          d.     Ground 1(d)(4)—Admission of Guilt and Intoxication Defense

16         Lopez claims the prosecutor denigrated his concession of guilt and intoxication defense

17 by arguing Lopez came up with it before trial to permit him an easy way out of convictions on

18 the more serious charges. ECF No. 17 at 17–18.

19         In closing remarks, defense counsel argued the jury learned “[counsel] represented

20 [Lopez] for over a year on this case.” ECF No. 28-3 at 156. Defense counsel argued Lopez was

21 charged with seven crimes and urged the jury to convict him of only two of the crimes: “Listen

22 to the name of the charge that we are asking you to convict [Lopez] of. Battery with use of a

23 deadly weapon resulting in substantial bodily harm constituting domestic violence.” Id. at 164–



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 1 65. Counsel argued the State failed to prove Lopez harbored specific intent necessary to commit

 2 the other crimes because Lopez was intoxicated:

 3                [B]ut if the State is questioning whether or not my client was
                  actually high, and they want to imply to you that it’s some form
 4                of fiction, now it’s my obligation to go and ask these cops
                  what the heck were you doing in this investigation?
 5
                          Let’s talk a little bit about the police work, or lack
 6                thereof, in regards to—in regards to this case. You know,
                  the State asked this detective who testified that in a crime
 7                scene like this is it common to test for drugs? And he said no.
                  Just because it’s not common to test for drugs, it doesn’t mean
 8                you shouldn’t test for drugs. Folks, if you’re accused of
                  stealing a candy bar at a store, I understand there’s no need to
 9                have a drug test. But if you want to charge my client with
                  attempt[ed] murder and put him in a cage, you better believe
10                that there better be a drug test.

11                       This is America, folks, and one of the many beauties of
                  this country is that if you’re accused of a crime, you have to
12                prove each element of that crime beyond a reasonable doubt.
                  The cop[s] in this case acted like, hey, there’s blood, we got the
13                guy. See ya, wouldn’t want to be ya. If I had a mic, I’d drop it.
                  You certainly see the problem, folks. And because of this,
14                these are doubts, and the State has not met their burden on these
                  attempt murder charges.
15

16 Id. at 161–162. In rebuttal, the prosecutor responded:

17                        It’s easy now a year plus and several months later to say,
                  oh, terrible police work, and they didn’t commit everything that
18                they should have done, and why didn’t they test for drugs?
                  Because that’s the one thing that they keep hanging their hat on,
19                the fact that he may not have had the [indecipherable], ability to
                  make the mindset for specific intent to commit attempt murder.
20
                          It’s very easy to stand in front of you and say, yep, I’m
21                guilty of the lesser included-or the lesser related crime in this case,
                  so, yep, find me guilty of the battery, I did it.
22 Id. at 171.

23



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 1         The prosecutor’s remarks about the Lopez’s defense theory were invited by Lopez’s

 2 testimony and defense counsel’s argument and were based on reasonable inferences drawn from

 3 the evidence. On this record, it is objectively reasonable to conclude the remarks did not so

 4 infect the trial with unfairness as to result in a denial of due process. The Supreme Court of

 5 Nevada’s rejection of this claim is neither contrary to nor constitutes an unreasonable application

 6 of clearly established federal law as determined by the Supreme Court, and is not based on an

 7 unreasonable determination of the facts in the record. Lopez is not entitled to federal habeas

 8 relief for ground 1(d)(4).

 9                 6.     Ground 1(e)—Cumulative Error

10         Ground 1(e) alleges even if the individual instances of alleged misconduct are harmless,

11 they collectively violate Lopez’s constitutional right to a fair trial because the comments as a

12 whole so infected the trial with unfairness as to make the resulting conviction a denial of due

13 process. ECF No. 17 at 18–19.

14         “The Supreme Court has clearly established that the combined effect of multiple trial

15 court errors violates due process where it renders the resulting criminal trial fundamentally

16 unfair.” Parle v. Runnels, 505 F.3d 922, 927 (9th Cir. 2007) (citing Chambers v. Mississippi, 401

17 U.S. 284, 298, 302–03 (1973) (holding the rights to due process and a fair trial were violated

18 because of the imposition of a combination of state hearsay and party witness voucher rules that

19 deprived defendant the ability to either cross-examine an individual who had confessed

20 repeatedly to the murder in question or to call witnesses to discredit the repudiation of the

21 confession)). “The cumulative effect of multiple errors can violate due process even where no

22 single error rises to the level of a constitutional violation or would independently warrant

23 reversal.” Id. (citing Chambers, 410 U.S. at 290 n.3). If the evidence of guilt is overwhelming,



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 1 the errors are considered harmless, and the conviction will generally be affirmed; if the verdict is

 2 weakly supported by the record, it is more likely to have been affected by errors than one with

 3 overwhelming record support. Id. at 928 (citations and quotation marks omitted).

 4          The Supreme Court of Nevada found no relief warranted based on cumulative error

 5 because the evidence of guilt was not close, and the misconduct it identified was not egregious:

 6                 [L]opez contends that cumulative error warrants relief. Having
                   balanced the relevant factors, we disagree. See Valdez, 124 Nev. at
 7                 1195, 196 P.3d at 481 (considering: “‘(1) whether the issue of guilt
                   is close, (2) the quantity and character of the error, and (3) the
 8                 gravity of the crime charged.’” (quoting Mulder v. State, 116 Nev.
                   1, 17, 992 P.2d 845, 854–55 (2000))). Here, the issue of guilt was
 9                 not close. Although Lopez asserted at trial that he had consumed
                   numerous intoxicants and his wife instigated the attack, this
10                 version was inconsistent with statements he had previously given
                   and with a majority of the evidence. Moreover, substantial
11                 evidence indicated that Lopez was not intoxicated to the extent that
                   he was unable to form the intent to commit the charged crimes.
12                 Finally, although the crimes were grave, the misconduct we have
                   identified was not egregious. Cf. Valdez, 124 Nev. at 1198, 196
13                 P.3d at 482.

14 ECF No. 31-2 at 6–7.

15          The Supreme Court of Nevada’s rejection of this claim is neither contrary to nor

16 constitutes an unreasonable application of clearly established federal law as determined by the

17 Supreme Court, and is not based on an unreasonable determination of the facts in the record.

18 That court reasonably concluded the case for guilt was not close. Before the stabbings, Lopez

19 told his daughters they and Robles would “pay,” and Robles would “regret” not letting him drive

20 her home from work. Lopez lay in wait for Robles to return home and when she refused to talk

21 to him and locked him out of the house, he snuck in through a separate door and waited outside

22 the laundry room. When Robles opened the door and told Lopez they would not reunite as

23 husband and wife, he told her she would die and commenced stabbing her with a knife. When

     M.L. appeared, he told her she was going to die too; and when A.L. came out, Lopez stabbed
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 1 him multiple times. Lopez ran out of the house only to return and threatened his family with

 2 death. Lopez admitted his statement to police is markedly different from his story at trial, and

 3 his counsel conceded Lopez was guilty of stabbing Robles and A.L. and disputed only whether

 4 Lopez was so intoxicated he was not guilty of the specific intent crimes. Due to the strength of

 5 the evidence, and because the identified misconduct had no bearing on the intoxication defense,

 6 it was objectively reasonable for the Supreme Court of Nevada to conclude there was no

 7 cumulative error that denied Lopez a fundamentally fair trial. Lopez is not entitled to relief for

 8 ground 1(e).

 9         I will, however, issue a certificate of appealability for ground 1(e) because it follows that

10 jurists of reason could debate the correctness of my decision that the Supreme Court of Nevada

11 reasonably determined there is no cumulative error based on prosecutorial misconduct, given my

12 issuance of a certificate of appealability for ground 1(a). See Slack, 529 U.S. at 484.

13         B.      Ground 3(a)—Counsel’s Failure to Object to Prosecutor’s Closing Remarks

14         Ground 3(a) alleges Lopez was denied the right to effective assistance of trial counsel in

15 violation of the Sixth Amendment because counsel failed to object to the prosecutor’s cross-

16 examination and argument as alleged in grounds 1(c)–(d). ECF No. 17 at 35–39.

17                 1.     Effective-Assistance-of-Counsel

18         A petitioner claiming ineffective assistance of counsel must demonstrate (1) the

19 attorney’s “representation fell below an objective standard of reasonableness,” and (2) the

20 attorney’s deficient performance prejudiced the petitioner such that “there is a reasonable

21 probability that, but for counsel’s unprofessional errors, the result of the proceeding would have

22 been different.” Strickland v. Washington, 466 U.S. 668, 688, 694 (1984). “A reasonable

23 probability is a probability sufficient to undermine confidence in the outcome.” Id. at 694. A



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 1 court may consider these issues in either order, and if the petitioner fails to satisfy one the court

 2 need not consider the other. Id. at 697.

 3          “[T]he Sixth Amendment does not guarantee the right to perfect counsel; it promises only

 4 the right to effective assistance.” Burt v. Titlow, 571 U.S. 12, 24 (2013). A court “must indulge a

 5 strong presumption that counsel’s conduct falls within the wide range of reasonable professional

 6 assistance.” Strickland, 466 U.S. at 689. On the performance prong, the issue is not what

 7 counsel might have done differently, but whether counsel’s decisions were reasonable from

 8 counsel’s perspective at the time. Id. at 689–90. A petitioner making an ineffective assistance

 9 claim “must identify the acts or omissions of counsel that are alleged not to have been the result

10 of reasonable professional judgment.” Id. In considering such claims, a court is obligated to

11 “determine whether, in light of all the circumstances, the identified acts or omissions were

12 outside the wide range of professionally competent assistance.” Id. Strategic choices made “after

13 thorough investigation of law and facts relevant to plausible options are virtually

14 unchallengeable.” Id. On the other hand, “strategic choices made after less than complete

15 investigation are reasonable precisely to the extent that reasonable professional judgments

16 support the limitations on investigation.” Id. at 690–91. It is a petitioner’s burden to show

17 “counsel made errors so serious that counsel was not functioning as the ‘counsel’ guaranteed . . .

18 by the Sixth Amendment.” Id. at 687. To establish prejudice, it is not enough for the petitioner

19 “to show that the errors had some conceivable effect on the outcome of the proceeding.” Id. at

20 693. The errors must be “so serious as to deprive the defendant of a fair trial, a trial whose result

21 is reliable.” Id. at 687.

22          “Establishing that a state court’s application of Strickland was unreasonable under

23 § 2254(d) is all the more difficult” as “[t]he standards created by Strickland and § 2254(d) are



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 1 both ‘highly deferential,’” and when applied in tandem, “review is ‘doubly so.’” See Richter, 562

 2 U.S at 105 (internal citations omitted); see also Cheney v. Washington, 614 F.3d 987, 995 (9th

 3 Cir. 2010) (“When a federal court reviews a state court’s Strickland determination under

 4 AEDPA, both AEDPA and Strickland’s deferential standards apply; hence, the Supreme Court’s

 5 description of the standard as ‘doubly deferential.’”) (citing Yarborough v. Gentry, 540 U.S. 1, 6

 6 (2003)).

 7                 2.     State Appellate Court’s Determination

 8         Lopez’s state court habeas petition was denied. On appeal, the Nevada Court of Appeals

 9 determined Lopez failed to establish Strickland’s prejudice prong. It based its decision on the

10 fact that the Supreme Court of Nevada ruled during the direct appeal that the substantive claims

11 of prosecutorial misconduct did not constitute plain error and the evidence of guilt was not close:

12                 Lopez claimed his trial counsel was ineffective for failing to object
                   when the State made improper statements during closing and
13                 rebuttal arguments. Lopez contended the State implied personal
                   knowledge of the events, discussed facts not in evidence,
14                 demeaned the defense, inflamed the jury, and commented on
                   prohibited matters. Lopez failed to demonstrate resulting
15                 prejudice. The challenged comments were reviewed on direct
                   appeal under a plain error standard and the Nevada Supreme Court
16                 found none of the challenged comments rose to plain error, and
                   further concluded the issue of “guilt was not close.” Lopez v. State,
17                 Docket No. 65048 (Order of Affirmance, October 16, 2014).
                   Given the Nevada Supreme Court’s conclusions and the substantial
18                 evidence of Lopez’[s] guilt produced at trial, which included his
                   incriminating statements, Lopez failed to demonstrate a reasonable
19                 probability of a different outcome had counsel raised objections to
                   the challenged comments. Therefore, we conclude the district
20                 court did not err by denying this claim without considering it at the
                   evidentiary hearing.
21

22 ECF No. 34-13 at 2–4.

23



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 1                 3.      Deferential Review of Strickland Prejudice Prong for Ground 3(a)

 2         The Nevada Court of Appeals’ rejection of this claim is neither contrary to nor constitutes

 3 an unreasonable application of clearly established federal law as determined by the Supreme

 4 Court, and is not based on an unreasonable determination of the facts in the record. It was

 5 objectively reasonable to conclude there is no reasonable probability the result of the

 6 proceedings would have been different had counsel objected to the prosecutor’s examination and

 7 remarks as alleged in grounds 1(c)–(d), for the reasons discussed earlier in this order. Lopez is

 8 not entitled to federal habeas relief for ground 3(a).

 9         C.      Ground 4—Failure to Remove Counsel due to Conflict

10         Ground 4 alleges the state district court’s refusal to remove counsel based on an alleged

11 conflict with counsel’s investigator violated Lopez’s rights to due process and to counsel

12 guaranteed by the Fifth and Sixth Amendments because the trial court failed to exercise its

13 obligation to inquire of Lopez about the basis for this belief in the conflict. ECF No. 17 at 42–44.

14                 1.      Additional Background Information

15         Before trial, Lopez’s public defender filed two motions to allow the Clark County Public

16 Defender’s Office to withdraw as Lopez’s counsel because Lopez and his family had once lived

17 for two years with the cousin of the lead defense investigator. ECF Nos. 24-10; 24-16. For the

18 first motion, the state district court held a hearing on July 9, 2013, at which the Public Defender

19 Lead Chief explained Lopez was “uncertain about how hard our investigator is working” because

20 the investigator’s cousin “didn’t care for him . . . .” and Lopez “thinks that we’re not

21 investigating the case properly . . . and we’re not going to try the case because of the family

22 relationship.” ECF No. 24-12 at 3–4. Lopez’s public defender stated that he had represented

23 Lopez for almost a year, and they had a “fantastic relationship” but “the Public Defender



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 1 believes that there is a conflict in this case” because there is “an appearance of impropriety.” Id.

 2 at 4–6. Counsel explained that Lopez told him he did “not trust now what’s going on . . . .” Id.

 3 Counsel argued there is an appearance of impropriety because the victims in the case are the

 4 family members who lived with the investigator’s cousin and counsel will “be grilling” them at

 5 trial. Id. at 5–6. The State opposed the motion contended there’s no conflict “just because once

 6 upon a time these people lived together” and the appearance of impropriety could be cured by

 7 assigning a new investigator. Id. at 6–7. The state district court denied the motion:

 8                         THE COURT: All right. Court finds that there’s no
                   appearance of impropriety. Simple family relationship between
 9                 the investigator and someone that Defendant may have lived with
                   in the past does not create the appearance of impropriety. One
10                 answer could be to replace the investigator, but I’m not even sure
                   that there has been nothing here to show that there’s any reason
11                 whatsoever to replace the investigator on this case. Simple
                   paranoia on the part of the Defendant is not enough to raise the
12                 appearance of impropriety or cause or give rise to a reason to
                   change the way his case is being handled by the defense or by the
13                 investigator on the defense.

14                         There hasn’t been anything stated in the motion or in Court
                   here today that would give rise to any question regarding the
15                 investigator’s past behavior or current behavior, future behavior.
                   There is definitely nothing that would require the removal of the
16                 attorneys especially since you have a relationship with the client
                   and this is [sic] case is coming up for trial and you’ve had the case
17                 now for over a year or close to a year. So, your motion to
                   withdraw due to conflict I find there’s no basis for it and your
18                 motion’s denied.

19 Id. at 7–8.

20          A new investigator was assigned to Lopez’s case. ECF Nos. 24-14 at 3; 24-17 at 5.

21 Lopez’s public defender filed a second motion to withdraw as counsel, citing Lopez’s growing

22 distrust of the public defender’s office and Lopez’s statement to counsel that the lead defense

23 investigator had conspired with his cousin, with whom the Lopez family had previously lived, to

     sell Lopez’s children. ECF No. 24-16 at 4. At a hearing sometime before the hearing on the
                                                    41
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 1 second motion to withdraw, Lopez personally addressed the state district court stating, “I made a

 2 motion so I can change attorneys. I don’t know if you have the opportunity to change that ‘cause

 3 the attorney’s always making—postponing things and giving me excuses. He won’t answer the

 4 phone. I don’t feel like he’s doing his job. He’s not defending me as he should be.” ECF No.

 5 24-18 at 4–5. The state district court informed Lopez his attorney filed a motion to withdraw as

 6 counsel and the motion would be heard later. Id.

 7          At the August 27, 2013, hearing on the second motion to withdraw, the state district court

 8 inquired about the allegations concerning the prior investigator’s cousin:

 9                  THE COURT: Counsel, have you checked with your investigator
                    and inquired as to whether or not he was trying to sell these kids
10                  and his ex-wife or his ex-girlfriend?

11                  [DEFENSE COUNSEL]: Your Honor, I have spoke[n] with [the
                    investigator]. He represented to me that he would be available—
12
                    THE COURT: No. Has he—had he—did you ask him, hey are
13                  you trying to sell these people?

14                  ....

15                  THE COURT: I want this on the record that you’ve checked—

16                  [DEFENSE COUNSEL]: Yes, Your Honor—

17                  THE COURT: —and he said no.

18                  [DEFENSE COUNSEL]: —I have and it’s—it’s absolutely
                    inaccurate and ridiculous.
19
                    ....
20
                    THE COURT: Okay, And also in your brief Mr. Lopez apparently
21                  doesn’t trust your office or trust you as well.

22 ECF No. 24-20 at 5.

23          Defense counsel explained he received an email from his interpreter stating Lopez

     contacted the office asking if the investigator is planning on testifying, that Lopez “doesn’t trust
                                                      42
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 1 our office,” and because of that counsel believed “there’s a conflict in this case.” Id. at 6. The

 2 State argued the notion the investigator is a human trafficker is “a ludicrous position” and the

 3 motion should be denied because the lack of trust has to do with the investigator and not counsel.

 4 Id. at 7. The state district court denied the motion:

 5                          THE COURT: Well, on this issue here whether or not, Mr.
                    Lopez, you have some at least it appears some delusion right now
 6                  that their investigator is trying to sell your kids and it doesn’t seem
                    like there’s any evidence whatsoever in that regard. And whether
 7                  or not you trust your attorneys or you trust the investigator is not
                    the issue before me. I’m looking at whether or not counsel is
 8                  competent to represent you, whether or not he’s ready to represent
                    you and you have a new investigator on the case and apparently
 9                  they’re doing what they need to do ‘cause you’ve said you’re ready
                    on this case.
10
                             So, I don’t find a conflict here because your client doesn’t
11                  trust you. That’s very common as you now [sic] in defense
                    practice for some reason. Sometimes Defendants just don’t like
12                  their attorneys and so no reflection on you, counsel. It’s just—I’m
                    not going to grant the motion.
13 Id. at 7–8.

14                  2.      Applicable Legal Principles

15          The Sixth Amendment guarantees criminal defendants the right to effective assistance of

16 counsel at all critical stages of the proceeding. Coleman v. Alabama, 399 U.S. 1, 7 1970. “The

17 Sixth Amendment right to counsel includes the ‘correlative right to representation that is free

18 from conflicts of interest.’” Campbell v. Rice, 408 F.3d 1166, 1170 (9th Cir. 2005) (quoting

19 Wood v. Georgia, 450 U.S. 261, 271 (1981)). To establish a Sixth Amendment violation, a

20 defendant must show “that an actual conflict of interest adversely affected his lawyer’s

21 performance.” Cuyler v. Sullivan, 446 U.S. 335, 348 (1980). “Upon notification that an actual or

22 potential conflict of interest exists, a trial court has the obligation ‘either to appoint separate

23 counsel or to take adequate steps to ascertain whether the risk was too remote to warrant separate



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 1 counsel.’” Id. (quoting Holloway v. Arkansas, 435 U.S. 475, 484 (1978) and Wood, 450 U.S. at

 2 272 n.18). “If the trial court fails to undertake either of these duties, the defendant’s Sixth

 3 Amendment rights are violated.” Id. (citing Holloway, 435 U.S. at 484.)

 4            The Supreme Court cases involving conflicts of interest concern conflicts between a

 5 defendant and other clients that counsel represented. See Mickens v. Taylor, 535 U.S. 162, 166–

 6 167, 171 (2002) (holding “[W]e think ‘an actual conflict of interest’ meant precisely a

 7 conflict that affected counsel’s performance—as opposed to a mere theoretical division of

 8 loyalties.” (citing Sullivan, 446 U.S. at 349–350 (emphasis in original)); Wheat v. U.S, 486 U.S.

 9 153, 163–64 (1988) (holding in multiple-representation cases, a district court must help protect

10 criminal defendants against counsel’s conflict of interest); Wood, 450 U.S. at 271–72 (discussing

11 potential conflicts arising from counsel hired by defendants’ employer); Sullivan, 446 U.S. 335;

12 Holloway, 435 U.S. at 481 (holding joint representation of codefendants is not per se

13 unconstitutional). The Ninth Circuit has established a test for assessing whether an

14 “irreconcilable conflict” between a defendant and counsel warrants substitution of counsel. See

15 United States v. Moore, 159 F.3d 1154, 1158–59 (9th Cir. 1998) (holding substitution of counsel

16 because of an irreconcilable conflict is based on consideration of “(1) the extent of the conflict;

17 (2) the adequacy of the inquiry [by the trial court]; and (3) the timeliness of the motion [for

18 substitution of counsel].”); see also Young v. State, 120 Nev. 963, 965, 102 P.3d 572, 574 (2004)

19 (adopting Moore’s three-part-test in Nevada). The Supreme Court of the United States has never

20 endorsed this test. Carter v. Davis, 946 F.3d 489, 508 (9th Cir. 2019); see also Parker, 567 U.S.

21 at 49 (holding the Sixth Circuit erred in applying its circuit’s “multistep test” that bore scant

22 resemblance to the general rules announced by the Supreme Court).

23 / / / /



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 1                 3.      State Supreme Court’s Determination

 2          The Supreme Court of Nevada rejected this claim on direct appeal:

 3                          Appellant Mario Alejandro Lopez contends that the district
                   court abused its discretion by denying his motions to substitute
 4                 counsel without questioning him personally. When determining
                   whether a district court abused its discretion by denying a motion
 5                 to substitute counsel, we consider (1) the alleged extent of the
                   conflict, (2) the adequacy of the court’s inquiry, and (3) the
 6                 timeliness of the defendant’s motion. Young v. State, 120 Nev.
                   963, 968–69, 102 P.3d 572, 576 (2004). Here, after the trial date
 7                 was reset twice, defense counsel moved to withdraw on the ground
                   that his investigator’s cousin lived with Lopez years before the
 8                 incident in question. Counsel explained that he and Lopez had a
                   “fantastic” relationship and he did not want to withdraw but
 9                 needed to bring the issue to the court’s attention. The district court
                   concluded that the circumstances did not warrant substitution; a
10                 new investigator was assigned and trial was reset a third time.
                   Shortly thereafter, counsel moved to withdraw again, explaining
11                 that Lopez now believed the former investigator had tried to sell
                   his children and therefore he did not trust counsel and the public
12                 defenders’ office. The district court questioned counsel regarding
                   the extent of the conflict; counsel did not assert that there had been
13                 a breakdown in communication, he made clear that there was no
                   merit to Lopez’s allegations, and he announced that he was ready
14                 for trial. Under these circumstances, we conclude that the district
                   court did not abuse its discretion by concluding that there was not a
15                 conflict sufficient to warrant substitution and denying Lopez’s
                   motions. See Gallego v. State, 117 Nev. 348, 363, 23 P.3d 227,
16                 237–38 (2001), abrogated on other grounds by Nunnery v. State,
                   127 Nev.___, 263 P.3d 235 (2011).
17

18 ECF No. 31-2 at 2–3.

19                         4.      Disposition of Ground 4.

20          Lopez cites no clearly established federal law that a defendant’s personality conflict with

21 counsel’s investigator can establish a conflict of interest with defendant’s counsel. Moreover, it

22 was objectively reasonable to conclude the state district court took adequate steps to ascertain

23 whether there was a conflict of interest between Lopez and his counsel and whether the alleged

     conflict was too remote to warrant separate counsel. Contrary to Lopez’s statement to the court
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 1 that counsel was “postponing things,” not answering the phone, and “not doing his job,” the state

 2 district court addressed those concerns by confirming counsel and his staff communicated with

 3 Lopez, had a good relationship with Lopez, and counsel was prepared for trial. The Supreme

 4 Court of Nevada’s rejection of this claim is neither contrary to nor constitutes an unreasonable

 5 application of clearly established federal law as determined by the Supreme Court, and is not

 6 based on an unreasonable determination of the facts in the record. Lopez is not entitled to

 7 federal habeas corpus relief for ground 4.

 8 IV.     Certificate of Appealability

 9         This is a final order adverse to Lopez. Rule 11 of the Rules Governing Section

10 2254 Cases requires the court to issue or deny a certificate of appealability (COA). I have

11 evaluated Lopez’s claim and my decisions to determine whether to issue a COA. See 28 U.S.C.

12 § 2253(c); Turner v. Calderon, 281 F.3d 851, 864–65 (9th Cir. 2002). A COA may issue only if

13 the petitioner “has made a substantial showing of the denial of a constitutional right.” 28 U.S.C.

14 § 2253(c)(2). With respect to claims rejected on the merits, a petitioner “must demonstrate that

15 reasonable jurists would find the district court’s assessment of the constitutional claims debatable

16 or wrong.” Slack, 529 U.S. at 484 (citing Barefoot v. Estelle, 463 U.S. 880, 893 & n.4 (1983)).

17 Applying this standard, I find a certificate of appealability is not warranted for any of the

18 grounds in the petition except grounds 1(a) and 1(e) as stated above. See Slack, 529 U.S. at 484.

19 V.      Conclusion

20         I THEREFORE ORDER that grounds 1, 3(a), and 4 are denied on the merits; grounds 2,

21 and 3(b) are dismissed without prejudice as unexhausted; and the petition (ECF No. 17) is

22 denied with prejudice.

23         I FURTHER ORDER that any requests for an evidentiary hearing are denied.



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 1         I FURTHER ORDER that a Certificate of Appealability is granted for grounds 1(a)

 2 and 1(e) and denied for all other grounds in the petition.

 3         I FURTHER ORDER the clerk of the court to enter a final judgment in favor of the

 4 respondents and against Lopez dismissing this action with prejudice and to close this case.

 5 Dated: March 2, 2023.

 6                                                      _______________________________
                                                        ANDREW P. GORDON
 7                                                      UNITED STATES DISTRICT JUDGE

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